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                           UNITED STATES DISTRICT CO URT
                           SO UTHERN DISTRICT O F FLO RIDA
                       CASE NO .II-I4OS8-CR-MARTINEZ/LYNC H
  UNITED STATES OF AM ERICA,
         Plaintiff,                                        FILED by              D.C,

  V.
                                                              Mà2 -
                                                                  2 2 2212
  M ICHAEL A.FRANCIS,
                                                             sSC
                                                               TL
                                                                EE
                                                              .D.
                                                                 VREKNu
                                                                      Mb.LATjIMO
                                                                 oFFb/.-o Fi.T/Ic
                                                                                 RE
                                                                                ET
                                                                                 UCE
         Defendant.
                                   /
                REPO RT AND RECOM M ENDATION ON CHANG E OF PLeA

         THIS CAUSE having com e on to be heard upon the OrderofReference from the

   DistrictCoud forthis Courtto conducta proceeding foracceptance ofa guilty plea by the

   Defendantin the above referenced case and this Coud having conducted a change ofplea

   hearing on M arch 2O,2012,this Courtrecomm ends to the DistrictCoud as follows:

                On M arch20,2012,thisCoud convened a hearing to perm itthe Defendantto

   entera change ofplea in the aforementioned m atter.Atthe outsetofthe hearingthis Coud

   advisedthe Defendantofhisrightto havethese proceedingsconducted bythe Districtludge

   assigned to the case. Fudher,this Coud advised the Defendant thatthis Coud was

   conducting the change ofplea hearing on an OrderofReference from the DistrictCourtand

   atthe requestofthe Defendant,the Defendant's attorney and the AssistantUnited States

   Attorney assigned to this case. This Coud fudheradvised the Defendantthatthe District

   Judge assignedtothiscasewouldbethesentencingjudgeandwould makeaIlfindingsand
   rulings concerning the Defendant's sentence and would conducta sentencing hearing ata

   tim e setby the DistrictCoud.
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        2,     This Court advised the Defendant that he did not have to permit the

  undersigned United States Magistrate Judgeto conductthis hearing and could requestthat

  the change ofplea hearing be conducted only by a United States District Judge. The

  Defendant,the Defendant's attorney and the AssistantUnited States Attorney assigned to

  the case aIIagreed on the record and consented to thisCourtconducting the change ofplea

  hearing.

        3.     This Coud conducted a plea colloquy in accordance with the outline setfodh

  in the Bench Book forDistrictJudges.

        4.     There is aw ritten plea agreem entwhich had been entered into bythe padies

  inthis case.This Courtreviewed thatplea agreementonthe record and had the Defendant

  acknowledge thathe signed the plea agreem ent. This Coud also made cedain thatthe

  Defendantwasawareofanym inim um m andatorysentencesand m aximum sentencesw hich

  could be im posed in this case pursuantto thatplea agreem entand the applicable statutes.

        5.     The Defendantpled guiltytoCountOne ofthe lndictm ent,whichcountcharges

  the Defendantwith conspiracy to comm itmailfraud,in violation ofTitle 18,United States

  Code,Section 1349.The governmentagreed to m ove to dismiss Counts Six and Seven of

  the lndictm entaftersentencing.

        6.     Thegovernm entstated afactualbasisforthe entryofthe pleawhich included

  aIIofthe essentialelem ents ofthe crim e to which the Defendantis pleading guilty and any

  sentencing enhancem ents and/or aggravating factors that may be applicable. The

  governm entalso announced the possible m inim um and m axim um penalties in respectto

  CountOne ofthe Indictm entwhich included advising the Defendantofthe possibility of

   rem ovalfrom the United States aftersentencing.The Defendantacknowledged thathe

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  understood these possible m inim um and maxim um penaltieswhich could be imposed in his

  Case.

          7.      Based upon allofthe foregoing and the plea colloquy conducted by this

  Coud,this Coud recom m ends to the DistrictCoud thatthe Defendantbe found to have

  freely and voluntarily entered his guilty plea to CountO ne ofthe Indictm entand thatthe

  Defendantbe adjudicated guilty ofthatoffense,
          8.      A pre-sentence investigation is being prepared forthe DistrictCoud by the

  United States Probation Office and sentencing hasbeensetforM onday,August20,2012,

  at10:00 a.m .,atthe United States DistrictCourthouse,Courtroom #4008,101 South

  U.S.Highway 1,FortPierce,Florida.

          ACCORDINGLY,this Coud recom m ends to the DistrictCoud thatthe Defendant's

  pleaofguiltybeaccepted,the Defendantbeadjudicatedguiltyoftheoffensetowhichhehas
  entered his plea ofguiltyand thata sentencing hearing be conducted forfinaldisposition of

  this m atter.

          The padies shall have foudeen (14) days from the date of this Repod and
   Recommendationwithinwhichtofileobjections,ifany,withtheHonorableJoseE.Madinez,
   the United States DistrictJudge assigned to this case.

          DO NE AND SUBM ITTED this          M day ofM arch,2012,atFortPierce,Northern
   Division ofthe Southern DistrictofFlorida.
                                                            XM




                                                     .LYN H,J .
                                              N     D    ES AG ISTRATE JUDGE


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  Copies furnished:
  Hon.Jose E.M artinez
  AUSA Carmen M .Lineberger
  AUSA Theodore Cooperstein
  M ichaelD.Leader,Esq.
  U.S.Probation
  U.S.M arshal




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